Case 3:12-cv-01099-M Document 1-2 Filed 04/09/12   Page 1 of 4 PageID 15




            PLEADING
            EXHIBITB
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c12)   United States Design Patent                                                         c1o)   Patent No.:                       US D484,694 S
       Leen                                                                                (45)   Date of Patent:                    **          Jan.6,2004

(54)    ROUNDED EDGE lAMP STORAGE BOX                                                        5,515,971    A    *    5!1996 Segrest ....................... 206/418
                                                                                             0399,540     s •      10/1998   Wolfenstein ............... 021!392
(76)    Inventor:      Monte A. Leen, 11730 NE. 12th St.,                                    5,845,989    A        12/1998   Leen .......................... 362/410
                       Bellevue, WA (US) 98005-2458                                          5,934,468    A    *    8/1999   Scott .......................... 206/418
                                                                                             6,416,206    81        7/2002   Leen .......................... 362/410
(**)    Term:          14 Years                                                              0478,726     s •       8/2003   Masso el al. . . .. . .. . . . .. .. . . 03/300
                                                                                      * cited by examiner
(21)    Appl. No.: 29/177,764
                                                                                      Primary Examiner-Philip S. Hyder
(22)    Filed:         Mar. 13, 2003
                                                                                      (57)                              ClAIM
(51)    LOC (7) Cl . .................................................... 03-01
(52)    U.S. Cl . .......................................... D3/273; 03/294           The ornamental design for a rounded edge lamp storage box,
                                                                                      as shown and described.
(58)    Field of Search .......................... 03/254, 269, 300,
                    03/260, 294, 273; 09/428; 206/418, 419,                                                        DESCRIPTION
                                            315.11, 443, 523; 021/392
                                                                                      FIG. 1 is a perspective view of the rounded edge lamp
(56)                       References Cited                                           storage box.
                                                                                      FIG. 2 is a rear elevational view of the invention.
                   U.S. PATENT DOCUMENTS                                              FIG. 3 is a front elevational view of the invention.
                                                                                      FIG. 4 is a top plan view of the invention.
       2,962,187   A •     11/1960     Morris ....................... 220n8o
       0273,403    S *      4/1984     DeLuca ..................... 021/392
                                                                                      FIG. 5 is a bol!om plan view of the invention.
       0283,758    S •      5/1986     Stewart et al. ............... D7n03           FIG. 6 is a right side elevational view of the invention; and,
       4,662,535   A *      5/1987     Loveland ................. 220/367.1           FIG. 7 is a left side elevational view of the invention.
       0291,842    S *      9/1987     Baumgardner ............... 03/254
       5,425,194   A *      6/1995     Miller ........................... 43/26                           1 Claim, 2 Drawing Sheets
Case 3:12-cv-01099-M Document 1-2 Filed 04/09/12                                         Page 3 of 4 PageID 17


U.S. Patent                            Jan. 6, 2004          Sheet 1 of 2                              US D484,694 S




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                                                  FIG. 3
Case 3:12-cv-01099-M Document 1-2 Filed 04/09/12   Page 4 of 4 PageID 18


U.S. Patent        Jan. 6, 2004     Sheet 2 of 2          US D484,694 S




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                                  FIG. 4




                              FIG. 5




            FIG. 6                             FIG. 7
